Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 1 of 6 PageID #: 21593




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

  VLSI TECHNOLOGY LLC,                       )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )      C.A. No. 18-966 (CFC) (CJB)
                                             )
  INTEL CORPORATION,                         )
                                             )
                      Defendant.             )

                DEFENDANT’S MOTION TO STAY ALL PROCEEDINGS

        Defendant Intel Corporation (“Intel”) respectfully moves the Court for an

  Order staying all proceedings in this case. The grounds for this motion are set

  forth in Intel’s Opening Brief, filed herewith.

                                           MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                           /s/ Jack B. Blumenfeld

                                           Jack B. Blumenfeld (#1014)
                                           Jeremy A. Tigan (#5239)
                                           1201 North Market Street
  OF COUNSEL:                              P.O. Box 1347
                                           Wilmington, DE 19899
  William F. Lee
  Dominic E. Massa                         (302) 658-9200
  Joseph J. Mueller                        jblumenfeld@mnat.com
  Jordan L. Hirsch                         jtigan@mnat.com
  WILMER CUTLER PICKERING
   HALE AND DORR LLP                       Attorneys for Defendant
  60 State Street
  Boston, MA 02109
  (617) 526-6000
Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 2 of 6 PageID #: 21594




  Gregory H. Lantier
  Amanda L. Major
  Joshua L. Stern
  Richard A. Crudo
  WILMER CUTLER PICKERING
   HALE AND DORR LLP
  1875 Pennsylvania Avenue NW
  Washington, DC 20006
  (202) 663-6000

  S. Calvin Walden
  WILMER CUTLER PICKERING
   HALE AND DORR LLP
  7 World Trade Center
  250 Greenwich Street
  New York, NY 10007
  (212) 295-6359

  Arthur W. Coviello
  Christine E. Duh
  WILMER CUTLER PICKERING
   HALE AND DORR LLP
  950 Page Mill Road
  Palo Alto, CA 94304
  (650) 858-6069

  September 11, 2020




                                        2
Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 3 of 6 PageID #: 21595




       INTEL’S CERTIFICATION PURSUANT TO LOCAL RULE 7.1.1

        Pursuant to D. Del. LR 7.1.1, counsel for Defendant Intel Corporation

  certifies that Intel has made reasonable efforts, including with Delaware counsel,

  to reach agreement with Plaintiff VLSI Technology LLC regarding Intel’s Motion

  To Stay All Proceedings. Counsel for VLSI has stated that VLSI opposes the

  Motion.



                                       /s/ Jack B. Blumenfeld
                                       _______________________________
                                       Jack B. Blumenfeld (#1014)
Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 4 of 6 PageID #: 21596




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  VLSI TECHNOLOGY LLC,                   )
                                         )
                    Plaintiff,           )
                                         )
              v.                         )     C.A. No. 18-966 (CFC) (CJB)
                                         )
  INTEL CORPORATION,                     )
                                         )
                    Defendant.           )

                                 [PROPOSED] ORDER

        This __ day of ___ 2020, having considered Defendant Intel Corporation’s

  Motion to Stay All Proceedings (“Motion”).

        IT IS HEREBY ORDERED that Defendant Intel Corporation’s Motion is

  GRANTED.




                                      ____________________________
                                      U.S. District Court Judge
Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 5 of 6 PageID #: 21597




                             CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2020, I caused the foregoing to be

  electronically filed with the Clerk of the Court using CM/ECF, which will send

  notification of such filing to all registered participants.

        I further certify that I caused copies of the foregoing document to be served

  on September 11, 2020, upon the following in the manner indicated:

  Brian E. Farnan, Esquire                                      VIA ELECTRONIC MAIL
  Michael J. Farnan, Esquire
  FARNAN LLP
  919 North Market Street, 12th Street
  Wilmington, DE 19801
  Attorneys for Plaintiff

  Morgan Chu, Esquire                                           VIA ELECTRONIC MAIL
  Ben Hattenbach, Esquire
  Iian D. Jablon, Esquire
  Christopher Abernethy, Esquire
  Amy E. Proctor, Esquire
  Dominik Slusarczyk, Esquire
  S. Adina Stohl, Esquire
  Charlotte J. Wen, Esquire
  Brian M. Weissenberg, Esquire
  Michael H. Strub Jr., Esquire
  IRELL & MANELLA LLP
  1800 Avenue of the Stars, Suite 900
  Los Angeles, CA 90067
  Attorneys for Plaintiff
Case 1:18-cv-00966-CFC-CJB Document 643 Filed 09/11/20 Page 6 of 6 PageID #: 21598




  Ben J. Yorks, Esquire                               VIA ELECTRONIC MAIL
  IRELL & MANELLA LLP
  840 Newport Center Drive, Suite 400
  Newport Beach, CA 92660-6324
  Attorneys for Plaintiff

                                            /s/ Jack B. Blumenfeld

                                            Jack B. Blumenfeld (#1014)




                                        2
